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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on March 16, 2023

UNITED STATES OF AMERICA : CRIMINAL NO.
v. : MAGISTRATE NO.
STEPHEN ROY SEXTON, : VIOLATIONS:
: 18U,S.C. §§ 1512(c)(2)
Defendant. : (Obstruction of an Official Proceeding)

18 U.S.C. § 1361

(Destruction of Government Property)
18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds) .

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia and elsewhere, STEPHEN

ROY SEXTON attempted to, and did, corruptly obstruct, influence, and impede an official
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proceeding, that is, a proceeding before Congress, specifically, Congress’s certification of the
Electoral College vote as set out in the Twelfth Amendment of the Constitution of the United

States and 3 U.S.C. §§ 15-18.

(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title
18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, STEPHEN ROY SEXTON
did willfully injure and commit depredation against property of the United States, and of any
department and agency thereof, and any property which has been and is being manufactured and
constructed for the United States, and any department or agency thereof, that is wooden furniture
and a wooden, interior door within the United States Capitol, causing damage in an amount more
than $1000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Section 1361)

COUNT THREE

On or about January 6, 2021, in the District of Columbia, STEPHEN ROY SEXTON did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, STEPHEN ROY SEXTON did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
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restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, STEPHEN ROY SEXTON did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of
Title 18, United States Code, Section 1752(a)(4))

COUNT SIX
On or about January 6, 2021, in the District of Columbia, STEPHEN ROY SEXTON
willfully and knowingly engaged in disorderly and disruptive conduct within the United States
Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb
the orderly conduct of a session of Congress and either House of Congress, and the orderly conduct
in that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))
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COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, STEPHEN ROY SEXTON
willfully and knowingly engaged in an act of physical violence within the United States Capitol
Grounds and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,
United States Code, Section 5104(e)(2)(F))

COUNT EIGHT

On or about January 6, 2021, within the District of Columbia, STEVEN ROY SEXTON
willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol
Building.

(Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

A TRUE BILL:

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Attorney of the United States in
and for the District of Columbia.
